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                 EXHIBIT B-138
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                                                                                            FILED IN OFFICE



                   IN THE SUPERIOR COURT OF FULTON COUNTY
                               STATE OF GEORGIA
IN RE: Special Purpose Grand
Jury
                                                     •

                                                     •      CASE NO. 2022-EX-000024



                                                     •


   REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
              RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned    hereby requests     permission  to use a recording device in
Courtroom __        in order to xOrecord images and/ or XOsound during all or
portions of the proceedings in the above captioned case/ calendar.
**Thomson        Reuters/Reuters           Television       requests permission        to record and
re-broadcast        as a     simultaneous            live    feed   Judge     Robert      McBurney's
YouTube livestream           of proceedings          for Special Grand Jury, case no. 2022-
EX-000024


Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): XOcomputer of any size, including a
tablet, a notebook, and a laptop; xOsmart       phone, a cell phone or other
wireless phone; XO camera and other audio or video recording devices D any
similar devices

The proceedings that the undersigned desires to record commence on (date and
time) January    24, 2023. Subject to direction from the court regarding possible
pooled coverage, the undersigned wishes to use this device in the courtroom on
(date and time) duration of proceedings.


The personnel       who will be responsible              for the use of this recording device are:
(identify   appropriate   personnel   or    individual).    **Our   request     is   to   use   Judge


For questions or concerns email pio@fultoncountyqa.gov                                             1
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McBurney's YouTube livestream,               which we can access remotely online in
our newsroom.

The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any
guidelines issued by the court.

Thomson Reuters/Reuters Television
(News Agency/Media Outlet/Law Firm/Individual               Representative)

tvdne@thomsonreuters.com
(Email Address)

202-519-3030 Newsroom
(Phone Number)

ORDER APPROVING/DISAPPROVING REQUEST:
         The request is:
               [g!Approved


               The requesting agency:
                             be pool for its media
                       [giShall not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

So ORDERED this 23 rd day of January 2023.

                                       {A
                                f Superior Court of Fulton Coun y


For questions or concerns email pio@/i.tltoncountyqa.gov                         2
Rule 22 (Rev. 04/01/ 18)
